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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 DEFINITION SERVICES INC., a British                 )
 Virgin Islands corporation,
                                                     )
                        Plaintiff,                   )
                                                          C.A. No. 21-741-MN
                                                     )
        v.
                                                     )
 GVA CAPITAL LTD., a Cayman Islands                  )
 exempted company,                                   )
                       Defendant.                    )

                      NOTICE OF WITHDRAWAL OF APPEARANCE

       PLEASE TAKE NOTICE that, pursuant to Local Rule 83.7, Plaintiff Definition Services

Inc. (“Definition”) hereby notifies the Court that Brock E. Czeschin and Travis S. Hunter, of the

law firm Richards, Layton & Finger, P.A., hereby withdraw their appearances on behalf of

Definition in this action. Definition consents to this withdrawal and will continue to be represented

by Joseph C. Barsalona II of Pashman Stein Walder Hayden, P.C. and Jason M. Short, Robin

William Allen George Rathmell, Joshua N. Paul, Andrew H. Elkin, and Gabriel Santos Neves of

the law firm Kasowitz Benson Torres LLP.


 Dated: October 21, 2022

                                                    /s/ Brock E. Czeschin
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                                                    Travis S. Hunter (#5350)
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